        Case 4:20-cv-00317-AW-MAF Document 43 Filed 08/01/22 Page 1 of 2




            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

J.C.,
        Plaintiff,
v.                                                 Case No. 4:20-cv-283-AW-MAF
JIMMY HIGHSMITH and
NAKAMOTO GROUP INC.,
        Defendants.

________________________________

J.P.,
        Plaintiff,
v.                                                 Case No. 4:20-cv-317-AW-MAF
JIMMY HIGHSMITH and
NAKAMOTO GROUP INC.,
     Defendants.
_______________________________/
                               ORDER OF DISMISSAL

        Based on the court’s earlier order (No. 4:20-cv-283 ECF No. 87; 4:20-cv-317

ECF No. 42)—to which there has been no response—the remaining claims in this

case are now dismissed. The clerk will enter a judgment that says, “The claims

against Defendants Jimmy Highsmith and Nakamoto Group Inc. are dismissed

without prejudice for failure to prosecute.” The clerk will then close the file.

        The clerk will file this in both cases.



                                             1
Case 4:20-cv-00317-AW-MAF Document 43 Filed 08/01/22 Page 2 of 2




SO ORDERED on August 1, 2022.

                             s/ Allen Winsor
                             United States District Judge




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